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                                                     UNITED STATES DISTRICT COURT
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                                                           DISTRICT OF NEVADA
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                                                                        2:09-CR-262 JCM (GWF)
                  8     UNITED STATES OF AMERICA,

                  9                     Plaintiff,
                10      v.
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                        ALFONSO RIVERA-AVALOS, et al.,
                12
                                        Defendants.
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                14                                                   ORDER
                15           Presently before the court is the matter of United States v. Rivera-Avalos, et al, case no. 2:09-
                16    cr-262-JCM-GWF.
                17           The government has filed the instant motion requesting that the hearing currently scheduled
                18    for September 16, 2014, be vacated. (Doc. # 340). This hearing was scheduled upon mandate from
                19    the Ninth Circuit which directed that the court hold an evidentiary hearing regarding the timeliness
                20    of defendant Fuentes-Garcia’s 28 U.S.C. § 2255 petition. The government now disclaims its
                21    argument that the petition was untimely, and instead wishes to respond to the petition on its merits.
                22    The government represents that the motion is unopposed.
                23           In light of the government’s concession that it has no factual basis for contesting the
                24    defendant’s timeliness argument, an evidentiary hearing on the issue is unnecessary. Within ten (10)
                25    days of the issuance of this order, the government shall file its motion seeking to waive the attorney-
                26    client privilege, have defendants’ counsel provide an appropriate affidavit, and respond to the
                27    petition, as indicated in its motion. (Doc. # 340, p. 3, fn. 1).
                28
James C. Mahan
U.S. District Judge
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                  1          Accordingly,
                  2          IT IS HEREBY ORDERED, ADJUDGED, and DECREED that the government’s motion
                  3   to vacate (doc. # 340) be, and the same hereby is, GRANTED.
                  4          IT IS FURTHER ORDERED that the evidentiary hearing currently scheduled for September
                  5   16, 2014, is hereby VACATED.
                  6          DATED August 1, 2014.
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                                                         UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                               -2-
